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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

DEBORAH D. PETERSON,
Personal Representative
Of The Estate Of
James C. Knipple (Deceased), et al.
                      Plaintiffs



                                                           Civil Action#l:OlCV02094(RCL)



THE ISLAMIC REPUBLIC OF IRAN,et al.
               Defendants


                           REPORT OF SPECIAL MASTER
                        PURSUANT TO ORDER OF REFERENCE
                      CONCERNING COUNTS CCXLV TO CCXLVm


         In accordance with the Order of Reference entered pursuant to the provisions 'of Federal
Rule 53, the Special Master has received evidence with regard to all issues of compensatory
     v     .

damages fiom witnesses as below set forth. Tius is an action for wrongfd death resulting fiom an

act of state-sponsored terrorism. The following findmgs of fact are based upon the sworn testimony

and documents entered into evidence in accordance with the Federal Rules of Evidence and have

been established by clear and convincing evidence.




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                                            FINDINGS OF FACT

    1. Joseph R. Livingston, 1111was born on February 15, 1963 in the United States of America

and was at birth and remained until his death, a citizen of the United States. Soon after completing

high school, Mr. Livingston, ILI joined the United States Marine Corps and on October 23, 1983

was a member of the 24& MAU, First Battalion, 8&Regiment.

    2. On October 23, 1983, the building housing the Marine Battalion at Beirut was attacked by a

suicide bomber operating a truck which penetrated to the center of the building where the operator

detonated a large explosive charge completely collapsing the building resulting in the deaths of 241

American Service personnel, including this decedent.

    3. As a result of the explosion the decedent, Joseph R. Livingston, DI suffered severe injuries

which resulted in his death. At the time of his death Joseph Raymond Livingston, III was 20.6

years of age and had been married for approximately 2 years 4 months and had an 18 month old

son, Joseph Raymond Livingston, IV2.

    4. The oficial service death certificate, admitted as an official record, indicated that the death

of theydecedent was due to a terrorist attack at Beirut, Lebanon on October 23, 1983.

    5. There is.no evidence from which the Special Master can make any finding that the decedent

suffered bodily pain or suffering as a result of his injuries and death appears to have been

instantaneous.

    6. As a result of the death of Joseph R. Livingston, IIIhis estate suffered a loss of accretions to

the estate which could have been expected to occur during the course of his anticipated life. These

1
 The Livingston family used that name Joel when referring to Joseph R. Livingston, III and that name shall also be
used when refening to him in this Special Master's Report.




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losses are the subject of a report under oath from Dr. Jerome Paige and are supported by Dr.

Paige's testimony given by videotape. They have been reduced by Dr. Paige to present value in

accordance with District of Columbia v. Baniteau, 399 A.2d 563 @.C. App. 1979). Based upon the

foregoing, the amount of loss to the estate is in the amount of $1,762,193.00.

   7. As the result of the death of Joseph R. Livingston, 1II, his wife, his child, his father and his

surviving siblings have suffered and will continue to suffer severe mental anguish and the loss of

society. The testimony established that Annette Livingston, decedent's wife, has never recovered

fiom the shock of her husband's death. Likewise the decedent's son, Joseph R. Livingston, IV,and

his sister, Tia Fox, suff+eredsevere emotional fiom the trauma of his death in Beinrt The decedent's

father, Joseph R Livingston, Jr. never recovered ffom the death of his son and the remainder of his

life until his premature death was described as a slow suicide. The emotional trauma is significant

as to each person



Annette R Livingston
        Annette R. Livingston is the wife of the decedent, Joseph R Livingston, III~and the

Personal Representative of the Estate of Joseph Raymond Livingston, Dl.                       The death of her

husband has had a profound affect on the life of Annette Livingston. Annette Livingston is

currently an account clerk three for the City of Champagne, Illinois. She was born in Homer,

Illinois and attended high school in Homer. After the death of her husband she obtained a BA from

Eastern Illinois University. Annette first met Joel in 1980 when they both enlisted to go into

Marines. They met at the recruiting station in Champagne, Illinois. Annette Livingston did not

serve in the Marine Corps because the projected M a ~ Corps
                                                      e     training schedule for her and Joel


 The Livingston Family used that name Joey when referring to Joseph R. Livingston, N and that name shall also be
used when referring to him in this Special Master Report.


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were incompatible. In January 1981 Joseph R. Livingston attended bootcamp in Panis Island,

South Carolina. Annette and Joseph Livingston were married June 20, 1981.

       Joseph R. Livingston, ItI was raised in Champagne, nlinois where h s father owned a

printing shop. He graduated a semester early to fulfill his lifelong dream of entering the U.S.

Marine Corps. Joel was an excellent baseball player and passed up scholarship opportunities for

Marines.

       After completing the Marines bootcamp in South Carolina, Annette and Joel resided at

Camp Lejuene, North Carolina and Joel was in the infantry battilion. He was an M16.Gunner for

the Marines for 6 months to a year then he went into the Armory - checking in and out weapons.

Joel liked the Marines even though it took him away fiom his family. Joel was on float in Israel

when his son born - Joseph Raymond Livingston IV. Joel was very excited about the birth of his

son. Annette was six months pregnant when Joel left on float and so she moved to the area of

Rantoul Air Force Base in Illinois. Joel returned home fiom float July 3,1982.

       Joseph R. Livingston, III was an avid hunter and a talented baseball player. He wanted to

attend college and actually enrolled in a college in Jacksonville, North Carolina, but was forced to

drop the classes he enrolled in on two separate occasions because of duty assignments. Joel wanted

to become a police officer and was interested in a career in law enforcement.

       As one of the only young, married couples in their circle of Marines, Annette and Joel

often bowled together and were quite social. Their Marine fiends came over to their house

frequently, as Joel was a person that people enjoyed.

       Joseph R Livingston,    ID expected to make the Marines a career, he expected retirement
2003, he wanted to go to college and study law enforcement, and wanted to go to Ofice Candidate

School.
                                                                    - -- ---    -




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       Joel was called out on a routine Mediterranean float in 1983. As he was preparing to go on

his second six-month float assignment he knew his unit was going to replace the current Beirut
garrison Annette Livingston was unaware of the dangers in Beirut, Lebanon but remembers

hearing conversations of family concerns. Annette did not understand because she was told they
were going in on a peacekeeping mission.      Annette's brother was one of the recently released

Marines that were captured in the U.S. Embassy in Tehran, Iran. After his release he did a

background investigation on Hezbollah and learned from his former military and government

contacts that the Marines in Beirut were going to be a target. Both Mrs. Livingston's brother and

father were furious with the Marine assignment to Beirut.

       In the spring of 1983 when Joel was about to leave on the float to the Mediterranean he

would not let Annette go to airport with him as she normally did. They had long conversations

before he left and he told her that it was a hotspot and if anythmg happened he wanted to be buried

at Arlington Cemetery and he did not want to say goodbye at airport in public.

       To Joseph R Livingston, III his assignment to Beirut, Lebanon on a peacekeeping mission

was just part of his duty as a Marine, those people   were less fortunate and he felt for the kids and

the parents trying to raise the kids in a "hell hole." Joel said his only concern was that Lebanese

weapon skills were very low and they could get shot while training them and Annette believed him.

Annette had no idea of what was really going on in Beirut.

       Mrs. Annette Livingston received no less than five letters per week fiom her husband while

he was on float. In a letter dated October 11,1983 Joel told Annette he wanted to have no less than

four children, they wanted a large family and since dinette sets normally seat six they thought four

children would be a   good number. In a letter dated October 18, 1983 (which Annette did not
receive until after the bombing) Joel explained to Annette that they went to condition 3, requiring




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flatjackets and helmets. He said another person was killed in his company, hit by a sniper round in

the head. He said it was sad because he never got to see his child that was born while he was in

Beirut and Joel felt bad for his wife. On October 22, 1983 Joseph R. Livingston, mcalled his ~e       ,




and asked her to meet him in two weeks in Moorhead City, North Carolina, when his unit was

scheduled to return to the United States. Mrs. Livingston went to Moorhead City in the hopes that

the Marine Corps had made a terrible mistake.

       Annette Livingston learned of the bombing of the Marine barracks fiom her father, an early

riser, on the morning of October 23, 1983. Annette thought Joel was out on the perimeter at the

American University not at the building at the airport where the bombing occurred. On the day of

the attack Joel's father said it was Hezbollah and that the Iranian government was involved A few

days after the bombing Annette received a letter fiom her husband telling her he had been moved to

the airport. On October 25& or 26& at 1:30 AM the Marines came to her parents house where

Annette was living and said everyone at the mrt building was considered missing because it was

so chaoticand communications were down Mrs. Livingston was in contact with the casualty

oEcer every day. On Halloween, October 31, 1983, Annette Livingston and the other Livingston

women were mad because they had not received a telephone call fiom Joseph R. Livingston, JII and

so they went out to dinner for the first time since the bombing. When they returned home the
Marines were waiting at the house and told the family that they had found and identified the body

of Joseph R. Livingston, m.

       Funeral and memorial services were held for Joel but there was no visitation because people

that wanted to say their peace had come to the house and done so. The Casualty Wicer took care

ofMarine Corps side. Joseph's best friend spoke at the funeral. Annette had never been to militmy

funeral - the guns and taps made it vety hard on her and Joel's parents and grandparents. Annette




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    decided she would not bury her husband in Arlington National Cemetery because she wanted him

    close. ~ o s e R
                   ~ hLivingston, III is buried at the Legion in Homer, Illinois.

             The remains of Joseph R. Livingston, I l l arrived home November 3,1983 and a fiiend, John

    Horton, met his body in Washington, DC. The Joel's body arrived in the Livingston family's town

.   on November 9&and the funeral was on November 10"' the birthday of the U.S. Marine Corps.

             In 1983 Annette Livingston and her husband had established fiendships with a number of

    other Marines in her husband's unit and Mrs.Livingston has maintained many of those friendships.

    &chard Watson was Marine in Beirut and survived the bombing because he was out in a tent rather

    than in the airport building. He said that on the morning of October 23, 1983 they woke up to a

    loud noise and it broke windows and they saw a huge mushroom cloud and instantly

    communication broke down, they were shut off. He told Annette that they thought her husband

    was not in the explosion because he routinely went out for a run in the early morning. They were

    wrong.

             Joseph R. Livingston, 111 was living in quarters on the left off the corridor in building.

    Annette Livingston learned fiom a Marine that accompanied her husband's body that autopsy

    report, indicated when they found Joel there was no lactic acid in muscles and they determined that

    he was killed instantly.

             Annette's initial reaction was that there are hundreds of bodies and it cannot be her

    husband, the Marines must have misidentified someone else as her husband's body. She believed

    he was alive and waiting his tum to call home.

             The hardest part was and is that she will never see h.
                                                                  Annette was there when the ships

    landed at Moorhead City. After Joel was buried she had a huge feeling of restlessness because her
    life was mapped out and it all changed and she did not know what to do. She had a large support




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network but it was her 18-month-old baby that kept her focused. Without having a baby to care for
she would not have made it. The first year was a struggle, it was hard to get up in morning and

carry on but with the responsibility of her young son Annette had to get up each day. She never

wanted to go to school; she wanted to be wife and mother and never thought about a career.

       Annette used her VA benefits to go school and the social security benefits helped to support

her and her son. She worked with the VA counselors and put her son in daycare while she attended

school. She testified that this toughened her. She cried often but she had to go on for her son. It

was hard to even seen the benefit checks written to just her name. The holidays were terrible.

       Annette Livingston has never remarried. She believes that remaining unmarried is her

defense to any potential loss of another loved one. She is in a long tern relationship with a police

officerwho has helped her raise her son; yet she feels that it isn't fair that she must do the parenting

without Joel. She frequently asks herself "What if Joel where here?" "'Why did you leave me here

alone with our child?"

       First holiday after Joel's death was homble. Joel's parents couldn't handle it and went to

Mexico. Annette spent Christmas night with her family. Joel's death destroyed his family. They

buried his,grandmother exactly one year after Joel's death. Joel's grandfather just quit living and

he slipped into a depression. Joel's sisters divorced and split off, his mother isolated herself - no

one hears fiom her - Joel was the glue that held the family together and his loss destroyed the

family.

          Joey was 8 or 9 years old when his grandparents divorced. Annette and Joey tried to stay in

touch with Joel's family but it became increasingly hard when they moved away. Joey's last

conversation with his grandmother was when he was 16 years old.




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       Joey is a headstrong kid. Joey was like his dad and Annette kept thinlung if Joel were alive

he would have handled it different. Sometimes Annette would get mad thinking - 'you left and left

me with this kid." Joel's death seriously impacted Joey - Joey did not know his father so he went

through an identity crisis even though Annette kept Joel's memory alive in pictures and stories.

Joey puts his biological father on a pedestal.

       Joey Livingston joined the Marine Corps because he was looking for his father and some

connection. Joey was in Marine Corps for three years. He was not successful in the Marines

because he joined for the wrong reasons. He was looking for father and he realized he would not

find him. After realizing he could not find his father in the Marine Corps Joey went through a

period of rebellion, anger, and destructive behavior.

       Annette Livingston is not in touch with groups like No Oreater Love on personal level but

through this suit she is involved with the Beirut Action Team, a group started by Tim Smith.

Annette has fiiendships developed fiom her involvement in the Beirut Action Team and she is the

contact person in Illinois.

       Annette has endured renewed pain in joining in this litigation. When the 9/11 terrorist acts

o c c ~ e dAnnette said to herself "where have you been?" She would like to see the American

people take off rose colored glassed and strip those terrorists, countries, and groups of all their

financial resources. She believes that financial resources give terrorists the ability to stay organized

and get bombs and weapons to destroy people.

        Since the day the Beirut bombing occurred Annette believed Iran was involved. The day of

the bombing her dad said, "it was those Hezbollah - it is them." Annette believes that the

American government knew Iran was responsible but no one publicly admitted it until this suit was




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filed. A lawsuit is the way a civilized country fights terrorism - and she hopes we will follow

through and finish it.

       Annette Livingston's message that she wants this litigation to deliver to the Iranian leaders

in Teheran is that the United States is not going to stand for it but unfortunately that is not the

message they are getting. From the military and civilian families that have lost loved ones the

message is: we are going to strip you of everything you have - and if you want to come after us

now you are going to have to do it with your own hands - We do not fight like they do, we face our

attackers we do not hide. Annette Livingston wants this county to stand up and say that is enough.

Annette wants our country to look at the survivors closer, especially the children growing up

without parents. It is finally happening with the Iraqi war, we are taking a closer look at the people

who come back with Post Traumatic Stress Syndrome and the survivors, especially the children

who grow up without parents.



Joseph Raymond Livingston, IV
       Joseph Raymond Livingston, IV is the son of the deceased, Joseph Raymond Livingston,

III. Jaey, -as his family and friends call him,was born at the Chinook Air Force Base in Rantoul,
Illinois in April 1982.

        When Joey was 4 or 5 years old he first became aware of what happened to his father when

he &ed in Beirut, Lebanon It took him years of reading and research until he hlly understood

what happened to the Marines in the Beirut bombing of 1983.

        During his young years Joseph Raymond Livingston, N played sports with his fiends and

in school. Joey played football, both sides of the ball. He played baseball for three years and

basketball for two years. He thought about how his life would be different if his real father was



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around. He felt as though he did not know his identity and that he was different than the other kids.

It got worse as he went into high school because his fiends were talking about how their parents

had been together a long time. And he thought about it more as he got older. It got harder when

his grandfather passed because that was ass only connection with his biological father. Joey's

grandmother on his father's side moved away and he had no fiuther contact with that side of the
family. As time went on it got harder and harder emotionally for Joey because he had no icjentity

or connection with his fathers side of the family.

        Joey believes that participating in this case is finally forcing people to do something about

terrorism instead of j ust ignoring it.

        When Joey was 11 year old he first understood that it was a terrorist attack that killed his

father. He had done his own research and reading of books on the subject. Overall, it made him

angry. He could not believe that the Iranians would do that to people, like his father, that were in

their country on a peacekeeping mission.

        At 14 years old Joey wanted to know how old he needed to be to join the Marines. His

mother wanted him to go to college but Joey wanted to follow in his father's footsteps. When Joey

graduatedfrom high school a semester early he joined the Marine Corps.

        In the Marines Joey realized he was searching for his father. He met Master Gunner

Sergeant Hunt that had served with his father, Joseph Raymond Livingston, III. Joey thought he

was a nice guy and he hung out with him and talked to him trying to learn about his father. While

he was in the Marines Joey did not adjust well. He realized he had joined the Marines for the

wrong reason. Joey started drinking heavily and it affected his conduct'and he regrets that now.

He found fiends here and there and some camaraderie but did not find the career that he thoqh he




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was loolung for when he joined the Marines. Joseph Raymond Livingston, IV left the Marines

after three years of service.

          Currently a student at Parkland College in Champaign, Illinois, Joseph Raymond

Livingston, N is working towards a Baccalaureate in fire service management and planning a

career as a firefighter. In grade school if anyone mentioned his dad he would go off and do

anyhng necessary to shut them up. But now he brushes it off because consequences are different

now. Both Joseph R Livingston, N and his mother, Annette Livingston admit that Joey has

unresolved anger issues resulting fiom the loss of his father.

          Joey and his "Stepfather" Chris get along real well and he said that he couldn't ask for

better guy. He has been there for Joey but the thought still lingers ''what -ifhis real dad were alive

- would he be like this guy or different?"
          Because his father was a Marine and was killed in a high-risk situation trying to help other

people Joey has always wantidhigh profile job where he can help people. After Parkland College,

a junior college, then he plans to go to Southern Illinois University to finish his studies for

firefighting or conservation career.

          The loss of his father is hard for Joey's mother, Annette Livingston, to talk about it.

Sometimes his mother acts weird and breaks down and other times she can talk about it with certain

people. Joey knows it has been extremely difficult for his mother to continue since his fiither was

killed.

          Joseph Raymond Livingston, N wants to make sure that everyone knows what really

happened in the 1983 terrorist bombing of the Marines in Beirut and he wants the terrorists to be

held accountable, including insuring that all those responsible receive the punishment they deserve.

The message or statement that he would like to make to the Iran leaders is that they deserve what is




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coming to them. What they did had a big impact on him and the families of the people that they

killed - it was cowardly and they must stand up and take responsibility for what they did.



Tia Fox
       Tia Fox is the sister of the deceased, Joseph Raymond Livingston, III. Tia Fox is the

Personal Representative of Estate of Joseph R. Livingston, Jr., father of Deceased that.diedin 1997.

Tia Fox was born ~ a r 6 h1,1964.

       Tia Fox was one of three children, Lome 1960, Joel 1963 and Tia. Laurie is divorced and

does not want to be part of this litigation Tia7smother does not want to be part of this litigation

Tia is proceeding on her own behalf and for the Estate of her deceased father.

       Tia Fox was married to William Shawn Fox and they had two children, a daughter that is 18

years old and a son that is 9 years old. Tia was born in Peoria, Illinois and raised in Champaign,

Illinois area There was a one year age difference between Tia and Joseph Raymond Livingston,

III. Since he could talk, Joel always said he h t e d to be a Marine. Joel is her big brother and they

were close growing up. He was very protective of both Tia and her sister. The Livingston family

was Very close. The Livingston parents were very liberal and anti-war and they clashed with her

grandparents. The Christmas before Joel was killed the family was together only because Joel

insisted on it. They took a generational photo. It never would have happened if it were not for Joel

making it happen. It was a great time and everyone got along. That Christmas was the last time

Tia and her family saw her brother alive.

       Joseph Raymond Livingston, III loved baseball. He started playing in the pony league .and

was the MVP in high school. Joel joined the Marines after his early graduation from high school.

Joel planned to re-enlist and he wanted to see the fields available to him. He considered being a



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linguist and he was interested in intelligence. He was an infantryman at the time of lus death. He

was offered advancement in the Marines because of his high intelligence but he refused and said he

"wanted t i be a grunt." The recruiter even called their parents because he had never seen anyone

refuse such advancement but Joel refused to accept the advancement.

       Spring or early summer 1983 Joel was deployed to Beirut, Lebanon. It was a six-month

deployment. Tia knew there was trouble in Beirut but she did not understand what was going

although she realized it was not a safe place. She did not understand the politics of the situation in

Beirut. She received letters fiom Joel while he was in Beirut. In a letter Tia received after Joel's

death that he wrote on September 23,1983, Joel wrote that four people had been killed and twenty-

five were wounded. Joel wrote that they should not worry about him, and he believed they were

safe. Joel felt good about being there and that the Marines were a deterrent to violence. Tia was

glad he felt that way and that he was not worried He said he thought they realized that the Marines

.wouldnot just sit around and get hit.

        Tia Fox was in contact with group called the Beirut Connection for about five years and

attended the anniversary in Jacksonville when they dedicated of the wall about five years ago. But

she has not gotten close to anyone fiom the Marines. One of Joel's best fiends contacted Joel's

wife. He had been in Beirut and was in a tent and survived. It is her understanding that he never

did very well.

        Tia reviewed and discussed several letters, photos, and newspaper articles kept by her

parents. Joel wanted his parents to believe he was fine and the press was making the situation

appear more dangerous than it really was in Beirut. Joel just wanted them not to worry and to

know that he loved them.




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        Tia's parents saved the newspaper articles covering the Beirut bombing and the funeral of

Joseph Raymond Livingston, III. Joel's mother told the newspaper that she was mad at the

govement but she did not-do that any more because Joel's dad said Joel would be embarrassed.

The newspaper reported that the death toll has risen to 207 and the Livingston family still had not

been told that Joel was missing. Another article on October 27, 1983 had Joel's picture and a small

story. At that time the family had been told he was missing. The Livingston family learned

October 3 1, 1983 that Joel had died. An article on November 11, 1983, told of Joel's burial. Many

people attended the burial. There were police directing traffic. The funeral was very difficult

because it was a closed casket and the family did not get to see Joel's body. Tia wondered if the

body was really Joel's body. It was strange for her since she was so young. The fimeral was in

Homer and he was buried in.Homer. The funeral was a military h e m 1 with full honors and a full

gun salute.

       Tia Fox learned about the explosion the morning of October 23"' when her mother told her

on the telephone. They did not believe anything happened to Joel because the accounts said the

death toll was very low. The family was not concerned. By the next day it was obvious it was a

big explosion and she and her sister went back to Champaign, Illinois and waited with the family.

People started coming over to the family house and bringing food, including people the family did

no know from the neighborhood. The Livingston family was frustrated because they thought Joel

was fine and they wondered why people were acting so nice to the M l y . People looked so sad.

The Livingston family spent all their time trying to make other people feel better reassuring them

that Joel would be h e .

       Then the Marines listed Joel as missing. The Marines came over to the house in the middle

of the night and said Joel was missing but also said it was confusing over in Beirut and things were



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    chaotic and it was not necessarily a bad thing that he had not been accounted for yet. Tia's sister

    thought Joel was dead but Tia and her mother thought he would be fine until the very end. The

    Livingston family was shocked to hear that Joel had died. Joel was one of the last found, he was in

    the basement. They did not know that he was dead until Halloween. The family was mad at Joel

    because he had not called and then they learned he had been killed. Prior to learning he had been

    killed Tia, her sister, and mother finally decided to go 'out to eat one night saying that he is just

    being "that way'' and if he does call they will not be there. When they retumed home fiom eating

    the Marines were waiting for them with the notification that he had been killed. . It was seven days

    after the bombing until they learned He had been killed.
           Tia's fiither, Joseph Raymond Livingston, Jr., gave up and withdrew fiom life after Joel was

    killed. Her          had a good marriage. They were fiends. This was the only thing that ever

    happened that they could not help each other get through. Not only could they not help each other
i
I   but their different ways of coping with the tragedy made the situation worse. Her mother would

    look at the letters and cry. She tried to work through her grief. Her father never even could say

    Joel's name - he just put it out of his head. Her parents clashed Her father aged %st. It was a

    slow suicide. Tia believes her father would have killed himself but he was afi-aid to do it. Her
    father never was happy after that, he just felt guilty. He was not the father she had.known before

    Joel was killed. He wanted to die. He had his own printing business 'and after Joel was killed he

    lost interest in the business and he was only able to maintain it for a few years. He sold the

    business in the early 1990's. He received veIy little money fiom the business and lived on money

    he received fiom an inheritance and permanent disability checks. He finally died in 1997 of

    emphysema at the age of 57.




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        The Livingston parents were divorced in 1990 or 1991. The divorce was difficult. Her

father started drinking heavily after Joel died. They were married out of high school. Her mother

stayed at home and when they split up her mother did not h o w how to do anythng. She moved in

with Tia's sister for six months then got her own place. Tia sided with her f;dther and her sister

Laurie sided with their mother. For years Tia's mother did not speak to Tia. Tia and her sister,

Laurie, were the only family members that maintained a relationship.

       Joel pulled the Livingston family together. After Joel was killed the W l y fell apart. The

affect of his death was the death of the family and the death of their parent's marriage. The affect

on the Livingston family of the death of Joseph Raymond Livingston, Ill was profound.

       Tia has told her children about her brother Joel. She has shown them pictures and told them

stories. It is sad because Tia loved her brother very much and her children never knew him. Tia's

.daughteris going into the Air Force. She is a lot like Joel, conservative and patriotic. Her daughter

and son were cheated in not knowing their Uncle Joel. Also Joel's son, Joseph Raymond

Livingston, El,Joey, was cheated by not knowing his father. Joel's son and he look alike.

       When the terrorist act of 9111 occurred it affected Tia deeply. Especially when they were

recovering bodies. She still has flashbacks of losing Joel.

       If Tia Fox could speak to the Iranian government she would tell them that she does not

know how they can do it. She prays that God' has mercy on them because they are evil. She cannot

imagine how they can be that detached fiom the impact and victims of their terrorist acts.

                                    CONCLUSIONS OF LAW

       (1) Wrongful Death.

       The Plaintiffs produced comprehensive testimony horn Dr. Jerome Paige detailing the loss
of accretions to the estate of each person These calculations are conservative and the amounts set



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    forth in the report have been established without question. The Special Master concludes as a

    matter of law that judgment should be entered for this element of damages for the Estate of Joseph

    Raymond Livingston, III in the amount of $1,762,193.00.

           (2) Survival Action - Pain And Suffering.

           There 'is no evidence from which it wuld be concluded that the decedent endured bodily

    pain and suffering after the attack and prior to his death.

           (3) Solatium.

           The Foreign Sovereign Immunities Act provides for an award for solatiurn consisting of

    emotional injury inflicted upon persons other than the decedent by the actions of the defendants

    andlor their agents. As the Court noted in the Flatow case, id., this is an item of damages which

    belongs to the individual heir personally for injury to the feelings and loss of decedent's comfort

    and society. The unexpected quality of a death may be taken into consideration in gauging the
i   emotional impact to those left behind In this case the impact upon the parents and siblings was
I

    devastating. The Special Master concludes as a matter of law that the following amounts are

    appropriate compensation for this element of damages: $10,000,000.00 (wife Annette R.

    Livingston); $10,000,000.00 (son Joseph R Livingston, IV); $10,000,000.00 (Estate of father,

    Joseph R Livingston, Jr.); and $5,000,000.00; (sister Tia Fox).




       Date: November 1,2005


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